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                                                                              ~_   ~_:-


 i    Robert Lee Manning Jr.
      14029 S. Hawthorne Blvd.
 2    Hawthorne, CA,90250
                                                                    .,~~,~ aFk~ t ~ ~~'1 3~ ~ 5
     (213)570-2518
 3
      connectedtothemoney@gmail.com
 4    Robert Lee Manning Jr. /June
                                                                    .,. .
                                                                       r    _ _
 5    Attorney or Party, In Pro Per
 6

 7

 8
                                   UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
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ii
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13
     Robert Lee Manning Jr, a.k.a. June,      )              CASE NO.:

14                         Plaintiff,         )
                                                     C V~~-02353_Sv~,-~Q                          UIIM1~
15   Space Explorations Technologies Corporation,
     a.k.a. Space X,Elon Musk, an individual,
16
                                                           Causes of action (s)
1~                                                       1. Employment Discrimination
     And does 1 through 10,                              2. Fraud
18

19
                           Defendants.        )       Title VII of the Civil Rights Act of 1964
Zo                                                    18 USC § 1341
21
                                                       Labor Code 1102.5(a)thru (f~
22

23

24

25

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27
                                           JURISDICTION I
28



                                             - 1 COMPLAINT
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      This Court has jurisdiction under: Title VII of the Civil Rights Act of 1964.

 2
      UNLAWFUL EMPLOYMENT PRACTICES

      SEC. 2000e-2.[Section 703J, in part:

     (a)Employer practices
 5
      It shall be an unlawful employment practice for an employer -
     (1)to fail or refuse to hire or to discharge any individual, or otherwise to discriminate against any
      individual with respect to his compensation, terms, conditions, or privileges of employment, because
     ofsuch individual's race, color, religion, sex, or national origin; or

     (2)to limit, segregate, or classify his employees or applicants for employment in any way which
     would deprive or tend to deprive any individual of employment opportunities or otherwise adversely
     affect his status as an employee, because of such individual's race, color, religion, sex, or national
io   origin.
11 (b)Employment agency practices
12    It shall be an unlawful employment practice for an employment agency to fail or refuse to refer for
      employment, or otherwise to discriminate against, any individual because of his race, color, religion,
13
      sex, or national origin, or to classify or refer for employment any individual on the basis of his race,
14    color, religion, sex, or national origin.

15   (c)Labor organization practices

16    It shall be an unlawful employment practice for a labor organization-

1~   (1)to exclude or to expel from its membership, or otherwise to discriminate against, any individual
     because of his race, color, religion, sex, or national origin;
18
   (2)to limit, segregate, or classify its membership or applicants for membership, or to classify or fail
19  or refuse to refer for employment any individual, in any way which would deprive or tend to deprive
    any individual of employment opportunities, or would limit such employment opportunities or
20 otherwise adversely affect his status as an employee or as an applicant for employment, because of
21
    such individual's race, color, religion, sex, or national origin; or

22   (3)to cause or attempt to cause an employer to discriminate against an individual in violation ofthis
      section.
23
     (d)Training programs
24
     It shall be an unlawful employment practice for any employer, labor organization, or joint labor--
25   management committee controlling apprenticeship or other training or retraining, including on-the--
     job training programs to discriminate against any individual because of his race, color, religion, sex,
26   or national origin in admission to, or employment in, any program established to provide
     apprenticeship or other training.
27
     (e)Businesses or enterprises with personnel qualified on basis of religion, sex, or national origin;
2s    educational institutions with personnel of particular religion.


                                                  - 2 COMPLAINT
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     Notwithstanding any other provision ofthis subchapter,(1)it shall not be an unlawful employment
     practice for an employer to hire and employ employees,for an employment agency to classify, or
     refer for employment any individual, for a labor organization to classify its membership or to classify
     or refer for employment any individual, or for an employer, labor organization, or joint labor
     management committee controlling apprenticeship or other training or retraining programs to admit
     or employ any individual in any such program, on the basis of his religion, sex, or national origin in
     those certain instances where religion, sex, or national origin is a bona fide occupational qualification
     reasonably necessary to the normal operation of that particular business or enterprise, and (2)it shall
     not be an unlawful employment practice for a school, college, university, or other educational
     institution or institution of learning to hire and employ employees of a particular religion if such
     school, college, university, or other educational institution or institution oflearning is, in whole or in
     substantial part, owned, supported, controlled, or managed by a particular religion or by a particular
     religious corporation, association, or society, or if the curriculum of such school, college, university,
     or other educational institution or institution oflearning is directed toward the propagation of a
     particular religion; SEC. 2000e-3.[Section 704J, in part:
io   (a) Discrimination for making charges, testifying, assisting, or participating in enforcement
     proceedings
it
12   It shall be an unlawful employment practicefor an employer to discriminate against any of his
     employees or applicantsfor employment,for an employment agency, orjoint labor-management
13
     committee controlling apprenticeship or other training or retraining, including on—thejob training
14   programs, to discriminate against any individual, orfor a labor organization to discriminate against any
     member thereofor applicantfor membership, because he has opposed any practice made an unlawful
15
     employment practice by this subchapter, or because he has made a charge, testified, assisted, or
16   participated in any manner in an investigation, proceeding, or hearing under this subchapter;
     INVESTIGATIONS
i~
      SEC. 2000e-8.[Section 709J, in part:
18
     (a)Examination and copying of evidence related to unlawful employment practices
19
     In connection with any investigation of a charge filed under section 2000e-5 ofthis title [section
20   706J, the Commission or its designated representative shall at all reasonable times have access to, for
     the purposes of examination, and the right to copy any evidence of any person being investigated or
21
     proceeded against that relates to unlawful employment practices covered by this subchapter and is
22   relevant to the charge under investigation:

23   Title VII ofthe Civil Rights Act of 1964(the "Act") prohibits an employer from retaliating against an
     employee who has "made a charge, testified, assisted or participated in" any charge of unlawful
24   discrimination under the Act.~ To prove retaliation, a plaintiff has to show, among other elements,
     that he or she suffered an "adverse employment action." Until recently, federal courts were split as to
25
     the definition of that term. Some courts held, for example, that it had to bean "ultimate employment
26   decision" such as hiring, terminating, promoting or compensating, while others held that it was any
     "materially adverse change in the terms and conditions of employment," such as suspension without
27   pay or demotion.3
28



                                                 - 3 COMPLAINT
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     On June 22, 2006,the United States Supreme Court resolved this split, issuing a decision which
     expands the rights of employees under Title VII. In Burlington Northern Santa Fe Railroad Co. v.
     White,4 the Court held that an employer's actions will be considered an adverse employment action if
     the conduct "would have been materially adverse to a reasonable employee or job applicant," and the
     action could "dissuade a reasonable worker from making or supporting a charge of discrimination."
     In addition, the Court expanded the scope of the definition of"adverse employment action" by statin
     that it "extends beyond workplace-related or employment-related retaliatory acts and harms." This
     expansive definition, therefore, could include things that occur beyond everyday interactions in the
     office, such as vandalism, refusing to provide post-employment information (such as references), or
     continually calling or driving by an employee's home for intimidation purposes; and HATE.

                                                   II. VENUE

        2. Venue is proper pursuant to: 28 U.S. Code & 1391

io

11
                                                 III. PARTIES
12

13
        3. Plaintiff, Robert Lee Manning Jr.(hereinafter "Plaintiff') was injured in this jurisdiction, and at
14   all times have resided in Los Angeles County relative to this matter. Mailing contact: 14029 S.
     Hawthorne Blvd., Hawthorne, California, 90250, Los Angeles County.
15
       4. Defendant, Space explorations technologies Corporations, a.k.a. Space X (hereinafter
16
     "Defendant"/Space X), at all times relative to this matter has its main business office situated and or
1~   located at: 1 Rocket Road, Hawthorne, California, 90250.

18    5. Defendant, Elon Musk (hereinafter "Defendant"), at all times relative to this matter has its main
     business office situated and or located at: 1 Rocket Road, Hawthorne, California, 90250.
19

20
                                        IV. STATEMENT OF FACTS
21

22     (6)On or about August 13, 2019, Plaintiff applied for the position of Project and Management
23
     Lead through Spartan University coordinator Ethel Jones(However,Plaintiff was already in
24
     communications with other Space X employees, instructing /coercing Plaintiff, 08-OS-19. But
25
     Plaintiff continued following instructions hoping it led to employment promise, nonetheless. Mind
26

27   the Court: defendants / Space X employees already knew Plaintiff had fulfilled all the Space X

28   "Production Manager" qualifications, and,in fact, more.


                                                 - 4 COMPLAINT
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 1 ~ ~(See A)
2    However,they expressed a certain amount of worrisome Plaintiff started to sense (sensing example
 3
     below). It was like a specific ERAU situation: colleagues of Plaintiffls thereon, who once worked
 4
     with Plaintiff on several projects, expressed, on several occasions, that they didn't really like him,
 5
     and, in fact, were /are really racist. Yet,they would become shockingly intrigued after seeing
 6

     plaintiffs drawings and innovations. And after gathering Plaintiff's revealed work, would later drop

 e   him sort of speak. Basically, Plaintiff has experience in sensing Fraud on the horizon as hereon with
 9
     defendants and or Space X its engineers. As Plaintiff is fully experienced in all types of illegal
io
     systematic tricks and schemes. Just ask Security in the Royal Building. Example: there's an elder
ii
     Caucasian Lady who works the United States District Court Building Window, who sells copies for
12

13   an enormous amount of money all things considered. Every time Plaintiff enters to file a case (all of

14   which aze later denied, mind the Court)when she's there, she creeps in low like a snake sort of speak
15                                                                                                    f
                                                                                                      ~ W
     — completely focused on Plaintiff. And exhibiting the expression of her extreme negativity always
16
     appearing to be utilizing high levels of negative energy she tries to hide but it leaks out relative to
17                             ._.e.,N~~~ ~ us
     Plaintiffls positiveand keen~7~she then asks Plaintiff a question. The same question several times over
18
                              P'^
19   while looking around like owl in the night, and or playing as though she cannot hear but really does.

20   It's as though someone about the Court she's connected to, is instructing her to conduct this illegal
21
     bad model against Plaintiff. She then begins her Clima~c: The Lady is trying to provoke Plaintiff, but
22                                                                             c~l(~ ~
     she doesn't know that Plaintiff already knows she has Security on standby this ILLEGAL]
23
     CONSPIRACY of hers and or her agent (s). This Act can be proven by way of the United States
24
                                                    a~

25
     District Court's Security Camera System       throughout the entire building; not to mention Plaintiff i

26   sure people like: DA Jackie Lacie, Senator Kamala Harris CIA, FBI, etc., are all tied into it but

27   refused to arrest the situation /lady. After sensing the Court's Lady situation, Plaintiff politely
2s


                                                 - 5 COMPLAINT
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 i   stepped away from her window. He then went to confirm what he was just told by the prior

 2   professional gentleman. Professional Gentleman for the Court, in part:"Mr. Manning,if youcan that
                                                       "i         ,k o
 3
     your case is still in our computer system, all you have do is write down the case number and page
 4
     information you want printed, and bring it to the last window. As those computers don't print. Then
 5
     you pay .50 per copy." As this is the same thing Plaintiff kept having to tell the LADY over and over.
 6

     The Lady in part,"Well if I have to copy the whole thing, you might as well go ahead and leave [me]

 8   $300.00 or so." Plaintiff walked away from the LADY where he later confirmed with the above
 9
     gentleman. And after the Lady overheard the two communicating, realizing Plaintiff was on to her
io
     scheme, she'd leave out or become nonchalant. As Plaintiff was not only right all along, opposing the
it
     LADY's Act, but he would then exit the entrance way to go say "Hi to aprox. 3 to 4 waiting Federal
12
         ~        W ~~                                N
13   Security Agen~ Plaintiff had already[SENSED] ~ waiting for him, alerted by the Lady, hoping

14   this illegal model would work but did not.(Senator Bernie Sanders stated on the "Today Show" in a
15
     81 interview, in part: "There are a hand full of people who illegally run the world, from the
16
                                                                                           ,~- ~'
     Courthouse to the Whitehouse in some cases." Yet, even he has done nothing to effectively match
1~   P~-~ ~ rrw~..-a ~---
     with, since). No offense to the Guards as they may have not known what was going on, and, in fact,
is
                                                                         ~~
19   have always been extremely professional with Plaintiff in the past. ,~,~ i~ ~ ~_ ~ L;
                                                                                   1~~.~~—v
              c S rte'
      --,ay.~/~l
      C
20   .~~they were NEVER called in to reprimand Plaintifffor anything, however, though,they should
zi   have been called in on the LADY. Moreover, Plaintiff to Security, in part:"Now you see, sir, that's
22
     how you handle a situation .... when someone tries to provoke me to azgument, I just walk away. I
23                                                              ~/"
     don't allow bad manipulative behavior(s)to overtake me~ especially when I know I'm right. And I
24                                                                                 ~ P~a u~rbl r,,
                                                            /

25
     bet you guys want to know how I knew you were out here? The Security smiled in awe .... not to

26   mention appearing to be wondering how Plaintiff could be so, smart, on point, and aware ofthis

27   illegal and or questionable model being exhibited by the United States District Court Lady?"
28



                                               - 6 COMPLAINT
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     Ethel Jones was concerned about Plaintiffs physical condition being on crutches. However,

     was more concerned with facts and information he was being submitted and or gathered about

     defendants. For instance: defendant Elon Musk as a California employer has 23 Policy Ruel for all

     his employees and anyone trying to be employed by Space X. Plaintiff questioned the defendant(s)
                                       ~+1~ r^ aY (~,o~,e.                        'lam-
     legalities ofthese Labor Violations leader to problems for Plaintiff As Elon Musk "stated these 23

     are just some of his "Rules" and or "Policies" in which he enforces at all of his alleged businesses, or

     you're FIRED!"


io
                                            No Emnlovee Discounts
11
       (23) companies offer their staffadditional benefits as an incentive to use the products and services
12         they promote. This serves to keep your employees happy and to recognize the importance they
           play in the success ofthe company. However, Elon Musk has asked employees to stick to a no
13
           discount policy, calling it `fundamental to our integrity."Musk has even gone asfar as to
14         `take corrective action'against anyonefound offering a discount on Teslas. Ina company-
           wide email he confirmed that discounts on vehicles are against the company policy ofuniform
15         pricing and he has definitively ended the practice.
16                               No Acronyms or Workplace Jargon Allowed

17
       (22) Acronyms are part and parcel ofbusiness-speak, but they have been banned at SpaceX. Elon
18         Musk sent out a mass email titled `Acronyms Seriously Suck.'In the email, he ordered that the
           use ofacronyms had to stop immediately otherwise he would take drastic action. He went on
19         to state that acronyms contained unnecessary words and were often confusing and diffacult to
           remember, claiming employees didn't want to seem dumb when they didn't understand an
20
           acronym and sat there in ignorance. Later on, Musk did concede that some acronyms were
21         necessary, but would need to be approved by Musk himself, before being used in the
           workplace. He was particularly angered by the use ofRUD (Rapid Unscheduled
22         Disassembly) used when the SpaceX Falcon 9 rocket spectacularly exploded.
23                                         Natural Bodv Odors Only

24
       (21) It is oftenjoked that Elon Musk may be superhuman but he does display a heightened
25         sensitivity to odors. So keen is his sense ofsmell thatjob candidates are instructed not to
           wear perfume or cologne when they meet him. In another instance, Musk apparently lost his
26         cool at the smell ofburning plastic that the vaporsfrom a vat ofliquid silicon were emitting,
           claiming the non-toxicfumes were going to end him. It seems somewhat odd then, that Musk
27
           himselfhas launched his own aftershave, described as a sophisticated and undiscovered new
28         scent that embodies the attitude ofpioneers. Presumably, it smells like a billion dollars.



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                                        Safety Markings Are Banned

3       (20) Whilst it's clear that Teslafactories are not a safe place to work, the problem is exacerbated
            because ofa lack ofsafety markings. The baffling reason behind this means that Elon's
            personal tastes have affected thefactory's safetyfor the worst. Apparently, Elon Musk really
            hates the color yellow, which led to a company-wide policy ofpainting any safety guides in
            grey, the same color as thefactoryfloor. Musk also has a phobia about having too many
            signs around, doesn't like caution tape or safety shoes and hates the sounds offorklifts
            reversing. Musk dismissed these claims previously as an ideologically motivated attack by
            union supporters, despite sources ofthis information not being involving with ongoing
            unionization efforts.
                         Maintaining Tools and Equipment Takes Too Much Time

io
       (19)Although Tesla cars are known to be incredibly safe, thefactories where they are built have
11
           been plagued by numerous accidents and safety violations, partly due to lack ofequipment
12         maintenance. No part ofthe production line is allowed to be shut downfor any reason so
           preventative maintenance schedules are often ignored. Twoformer paint shop employees
13         claimed that at least threefires had broken out at the plant in the past two years due to poorly
           maintained tools. The lack ofmaintenance led to a buildup ofpaint on one ofthe machines
14
           and grounding straps. In one particular incident, sparks ignited the paint and turned the paint
15         sprayer into aflamethrower.

16                             Ambulances Are Not to Be Called Under fAnyl
17
                                                  Circumstances
is      (18) In the likely instance that a Space Xfactory worker does get injured, staffat the in-house
     medical clinic areforbiddenfrom calling 911 unless they get permissionfirst. Ifthe injury is not
19
     severe, workers are usually sent back to the production line without treatment. However, ifan
20   ambulance is required, it's official company policy to send the injured worker to the hospital in a L
     instead. The reasoning behind this is to keep as many patients offthe books as possible, in order to
21   lower the reported injury rate, or at least reduce the severity ofinjuries being reported.

22
                                  40 Hour Weeks Are A Thing Of The Past
23

24
       (1~) Elon Musk isfamousfor working up to 120 hours a week and expects his employees to do the
           same. In an anonymous interview, one SpaceX engineer worker revealedjust how crazy it was
25         workingfor the entrepreneur and self-confessed workaholic. Claiming that `Elon's view of
           reality is highly skewed', he said that. Tesla employees have been known to work such long
26         hours they even coined a namefor their zombie, trance-like condition, the `Tesla stare.'When
27
           Musk was questioned by one employee about when he would get to see hisfamily, he noted
           that the employee was `definitely not on board with Tesla's mission and values."
28



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                                 No,You Can't Have the Weekend Off


      (16) According to manyformer employees, Musk does not care ifthey want to have any kind of
       life outside ofwork. He even once put his entire team on blast because not enough ofthem were
       working over the weekends. In an effort to cut down the reasons why his employees can't work
       weekends, Musk launched a new program that would allow employees to live at the Tesla campus
       in order to push their total weekly hours to 100, ensuring they had no choice but to work
      Saturday and Sundays. Apparently, Mr. Musk was overheard asking one ofhis managers "why
       do the workers need to go home?"

                             Large Workplace Meetings Are to Be Avoided

      (IS) Meetings are one aspect ofbusiness that is tough to avoid. Elon Musk made hisfeelings clew
io        that he isn't afan oflarge meetings in a nowfamous email. He stated that meetings are the
          enemy ofcreativity and almost always get worse over time. Musk encourages his employees tc
it        avoid all large meetings unless they are providing value to everyone who is attending. His
          solution to avoiding large meetings? Just walk out. Musk's reasoning being that it is not rude
12
          to leave, but it is rude to make someone stay and waste their time. These are words that
13        anyone who has been stuck in a boring, unproductive meeting will read and cheer.

14
                     Meetings Must Not Be Attended Unless You Are Contributing
15
     (14)        Not knownfor his business etiquette, in a somewhat strange statement, Musk took ai
16
        at the scourge ofuseless and unproductive meetings. In an email that was sent to every
1~      employee, the SpaceX and Boring Company boss explained that he expects his staffto walk
        out ofmeetings or hang up the phone ifthey are not directly contributing. Clearly not
is      concerned with what others may think ofthis he went on to clarify that it wasn't rude to do
        this, but it is rude to waste somebodies time. Although Elon Musk is difficult to keep up with,
19
        it's clear that he is not afan ofmeetings.
20                                           Don't Be A Jerk
21

22    (13)Elon Musk has said there is one quality he values above all others in his employees, and that
       is likeability. Admitting he looksfor a positive attitude during the hiring process, he went on to
23
       explain that ifyou don't like the people you work with, yourjob is going to be very miserable.
24    Although Musk refused to go into specifics, he confirmed that people had beenfiredfrom SpaceX
      for beingjerks. Musk said even ifsomeone is one ofthe brightest minds he has encountered, he
25     has no interest in hiring them ifhe senses they may be rude to colleagues.
26
                               The River of Sewage That Must Be Crossed
27

28



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      (12) A worker in the paint shop at Tesla made an extraordinary claim that he and his colleagues
      were ordered to walk through a river ofraw sewage that had spilled onto thefloor ofthe
      Californiafactory. One employee balked at the idea and was told tojust walk through it because
      they had to keep the production line going. Four other employees said at the time they were unde
      constant pressure to avoid production delaysfor any reason whatsoever and were not given the
      option to stop work while the plumbing issue was resolved. Elon Musk has since denied any
      knowledge ofthe incident.

                                 There Is No Such Thing as Sick Leave

      (11) The media has consistently scrutinized the lack ofany safety culture within Tesla with
      several reports painting a particular troubling picture ofElon Musk himself. Back in 201S he
      came underfirefor scolding a Tesla employee who missed a company meeting to attend the birth
      ofhis child. The employee was blasted in an emailfrom MusD stating that he was extremely
      disappointed, and the newfather needed tofigure out where his priorities are. Other employees
io
      who have been placed on medical leavefollowing a work injury have been preventedfrom
it    returning to work. Musk has taken aim at any absenteeism in general, claiming that it is the
      reason behind some companies going bankrupt.
12

13                                  No Workplace Unions Allowed

14
      (10) Tesla has long had a reputationfor being anti-union, even though Elon Musk has officially
15    stated that his position is neutral on the topic. Complaintsfrom workers about being let gofor
       engaging in efforts to unionize are common. Ifsupervisors overhear production workers
16     discussion unions, they are quick to shut down the conversation. One employee who was let go in
      August 2017 recounted how she was told by her colleagues to stop asking questions about unions
l~
       and to shut up or she would befired. Interviews with current employees suggest these
18     intimidation tactics are still being implemented by upper and middle management.
           In 2017, Tesla violated the National Labor Relations Act several times, Bloomberg reports.
19         by threatening employees and retaliating against them, an administrativejudge ruled today
           in California. Also, a May 2018 Elon Musk tweet —where Musk said thatjoining a union
20         meant giving up Tesla stock options —was also illegal, thejudgefound Teslafired one
21         union supporter; thejudge's order says this person should be reinstated with back pay.
           Another pro-union employee should have a warning rescinded. And Musk must be present at
22         a meeting at the Tesla plant in Fremont, California where he or someone with the labor
           board reads aloud a notice to employees that Tesla broke the law.
23

24

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10

11

12

13                           Do Not Ask for A Pav Rise If You Value Your Job

14
     (9) Despite all employees having to sign confidentiality agreements, it's been widely reported that
         workers at the Fremont Teslafactory makefar less than the typical U.S. automotive production
15       worker. It's even been said that due to the low pay, workers rely on overtime to survive
        financially. Workers are often afraid to speak up, with employees who askfor a pay rise being
16      fired at a moment's notice. The Tesla Gigafactory in Reno has been struggling tofind employees
1~       due to the perception that the company doesn't pay enoughfor its employees to build a
         retirement or even be able to afford insurance.
18                                   Quotas Must Be Filled at All Cost
19      (8) The production problems plaguing Tesla are no secret, with the company regularlyfailing to
         meet tough quotas. To meet the difficult self-imposed production targetsfor the Tesla Model 3,
20      factory workers were providedfree Red Bull energy drinks to help them battle exhaustion. The
21
         head ofTesla himselfeven took to sleeping on thefloor ofthe Fremont, Californiafactory so he
         didn't waste time traveling to andfrom home and was wearing the same clothesfor up to S days
22       at a time. The workplace demand became so intense that numerous employees developed stress
        fractures and repetitive strain injuries.
23
                                       One-Wav Conversations Only
24

25
            (7)Besides his long work weeks, Elon Musk is also infamousfor his strange speaking style.
            Rather than viewing conversation as a hvo-way process, he only allows employees to speak
26          with him ifhe thinks he can learn somethingfrom them, or ifthey have information that he
            needs to know. He has a very staccato way ofspeaking and will only let his employees talk
27          while he is learning. Once he has caught on he either moves onto the next subject or shuts the
28



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            conversation down. Employees report that Musk will pepper them with questions and ifthe
            topic ofconversation strays, Musk is very quick to interrupt.
                                      The Independent Thought Alarm

         (6) Drawing upon an ancient philosophy named the First Principles Approach, Elon Musk has
     laid outfurther guidelines on how his employees are expected to think. This was outlined in a 2013
     TED conference where Musk explained that things should be boiled down to the mostfundamental
     truth, and then reasoned upfrom there. This allows any problem to be broken down into its core
     parts. This philosophical way ofthinking was used to examine managerial expenses with managers
     required to show how they applied the First Principles Approach to their expense claims. Anyone
     who was unable to display a detailedfirst principles understanding wasfired on the spot.

                              Rules Must Not Be Followed (Except This One)

            (5)Believing that everyone is gifted with common sense, Musk encourages employees to
     ignore company rules, andfollow their own logic and intuition instead. Acknowledging that some
io   company rules may seem ridiculous and unable to be applied to every situation, he believes that
ii   situations should be compared to a Dilbert cartoon. Ifany similarity isfound, then employees are to
     disregard company procedure andfigure out how to proceedfor themselves. Admittedly this is more
12   ofa nodfrom Musk about what he values in an employee and the culture he prefers to operate in and
     is perhaps a welcome respitefrom his laser-sharpfocus on productivity.
13
                                  Do Not Respect the Chain of Command
14
        (4) Traditional companies usually operate under an organizational structure, also known as a
15
      `chain ofcommand.'This is to lay out clear lines ofauthority and decision-making power. Ofcourse,
16   it makes sense that at Tesla no such structure exists. Tesla employees are told that communication
     must travel the shortest path necessary to get thejob done. Managers were also warned that anyone
l~   attempting to enforce the chain ofcommand would soon be lookingfor a new job. The reasoning
     behind this unusual rule is that communication that isforced tofollow a chain ofcommand is a
18
     surefire way to end the great ideas that a company needs to be successful.
19
                       Unsafe Hazards Must Be Ignored (Try Not to Hurt Yourselfl
20
       (3) One reasonfor the above-average injury rate at Tesla can be explained by the company's
21   habit to ignore potential hazards in the workplace. Aformer employee in the health and safety
     department told the media that when she warned the company about a potential explosion hazard,
22   she was told it would not befollowed up becausefixing the problem would require halting the
     production line. Emails to the chiefofstaffregarding safety were routinely ignored. The company
23
     uses hoists that were neither engineered nor inspected to lift heavy parts, resulting in numerous
24   employee accidents. Employees were advised to come up with workarounds to any safety hazards
     avoid disrupting thefrantic pace ofwork.
25
                                        All Injuries Must Be Hidden
26
       (2) The Teslafactory is knownfor not only its blistering production schedule, but its high number
27   ofworkplace injuries and incidents. Workers at thefactory have sufferedfainting spells, abnormal
     breathing, chest pains, broken bones, burns, repetitive stress injuries and seizures. In order to keep
28
     the injury rate down, Tesla ceased recording any workplace injuries on legally mandated logs, used


                                               - 12 COMPLAINT
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      to determine a company's injury rate. An independent investigation in November 2018found that
      Tesla was actively hiding serious injuriesfrom the government and sending injured workers back to
      the production line and told to work through their pain. A physician whistleblower who worked at ty
     factory stated that her goal was to keep as many patients offthe books as possible.

                                            No Questions Allowed

       (1) For all ofhis intelligence and innovative vision, it's no secret that Elon Musk is prone to bout
          ofrage, often culminating infiring whoever is around him at the time. As a result, managers
          have warned staffnot to ask questions, or raise concerns or objections. Ifanyone questioned
          directivesfrom Musk, they wouldfnd themselves reassigned, demoted or terminated. Anyone
          who was known to be a skeptic or was known to push back was no longer invited to meetings.
          A former executive who reported to Musk claimed that every day he came to work wondering i~
          it was going to be his last.

       7. Then according to Jason Blasdell, Elon Musk was ready to fire him for trying to do what would
io
      be considered the [RIGHT]thing to do regarding maintaining safety, case number BC615112;
li

12
        8. Elon Musk's ability to obtain approval and or permits from Public Officials to Bore through the
                                                       ~   r'
                                                           '
13
     city of Los Angeles, case number: BS173523~t was very disturbing to know how he was able to pull
14
     this off, especially considering DR. Sol Adoni's professional assessment of potential environmental
15

16
     disaster, relative earthquakes 8 or higher. However, the people of Brentwood, California sued and

17   ~ WOri;

18
       9. Then Acts: the Boring Company,in part: Elon Musk's Boring Company has officially landed its
19

20   first commercial contract: A $48.7 million project to build an under~r     transportation system

21   around the Las Vegas Convention Center. The initiative has been dubbed the Campus Wide People

22    Mover(CWPM),because its primary purpose is to move people around the facility. Authorities
23
     conjured up the project to go with the LVCC's expansion -- the whole facility will span 200 acres
24
     after all construction is done, and people would have to walk two miles to go from one end to the
25
      other. The Boring Company's "LVCC Loop" can take event attendees to their destination much
26

27   faster. But, according to Las Vegas, Nevada's REAL Boring Company, Elon Musk is allegedly

28   conducting Fraud and allegedly [stole] their name and then had /has the nerve to open his alleged


                                               - 13 COMPLAINT
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                                              wc~'~,      "'

 i   fraudulent business up in the same town, he allegedly stole the Boring company from,according to

 2   the actual Las Vegas Boring Company owner (s). They're currently underway prepping to sue Elon
 3
     Musk., according to the Boring Company. Nonetheless, Plaintiff felt Elon Musk was going to finally
 4
     be genuine to him, believing the content of his character would reflect in their relationship as Dr.
 5
     King once stated.
 6

 7
       10. But then, and furthering, according to Dr. Sol Adoni,"the original founders ofthe modern
 8
     Tesla Car Company sued Elon Musk for saying he founded the company." This made Plaintiff
 9
     reevaluate the situation. According to Dr. Sol Adoni, Elon Musk just bought into the idea and didn't
io
it   found it, although the case was settled out of court so Elon Musk can now claim being a `founder' of

12   Tesla Motors now known as "Tesla." Still, despite these being very damaging accusations, Plaintiff
13
     still felt he could come into a new agreement with Eon Musk and or Space X,changing how Space X
14
     and Elon Musk from their alleged illegal models of business to that of legitimacy.
15

16     1 1. However, after the Mr. Ruan situation, Plaintiff could no longer overlook the broader
l~
     spectrum offraud up to and including the fraud against him by the defendants especially after Space
18
     X SECURITY situation: Space X inappropriately handled Plaintiff in front of the Public causing
19
     major humiliation to Plaintiff, all despite Plaintiff having proved he was actually invited to enter
20
21   Space X by several of its engineer employees, all purveying Mr. Conley for Space X at the time.

22   Explained in detail later. ~~ ,~ ~~ ~d / ~}~fj'~                       V'~
23
       12. Note: Space X settled a class action lawsuit for $4 million in which 4,100 employees alleged
24
     that the company refused to let employees take government mandated breaks during long workdays:
25

26   A full third of the settlement or $1.3 million will go to the legal team leading the suit while the
27   remaining balance will go directly to employees. The employees will be compensated based on their

28   estimated personal impact ranging from $500 to $2,000 per person. The suit came to light when three



                                                 - 14 COMPLAINT
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1    different suits filed from 2014 to 2015 were bundled together by Los Angeles Superior Court Judge

2    Elihu M. Berle. Individual plaintiffs within the suit attempted to block the settlement, instead pushing

 3
     for higher individual settlements but were denied. The settlement is not a windfall for SpaceX
     employees but will serve to compensate them for the allegedly denied breaks and set a stake in the
 4
     sand for more employee-friendly policy at SpaceX moving forward. And this was all Plaintiff was
 5
     trying to do, move forward.
 6

7
       13. But then more negative information began pouring out about Space X and Elon Musk, and
 e
     Plaintiff's concerns grew even more so.
 9

io      14. On or about August 16, 2019, Andy Ruan, Space Xemployee /Recruiter, and contact person

ii   for Ethel Jones, called Plaintiff, securing Plaintiff a position. However, Plaintiff missed his call. Mr.
12
     Ruan left a message on Plaintiff's telephone to this affect. Aprox. 3 minutes later, Plaintiff called Mr.
13
     Ruan back.
14
       15. However, the telephone went straight to voice mail. Plaintiff left several messages between
15

16   that time and the next day, in which he continued calling Mr. Ruan, but to no avail.

i~     16. Plaintiff not only called Ethel Jones for an update, but to also convey to her that Mr. Ruan was
is
     strangely not answering [Plaintiffs calls and messages]. Ethel Jones assured Plaintiff Mr. Ruan was
19
     touring Plaintiff's resume throughout the plant as he promised him and her.
20
       17. And Elon Musk was very adamant: his own engineers stated he wanted Plaintiff's skill set and
21

z2   or what Plaintiff was already engaged in. Plaintiff later discovered this was / is the same model

23   ~, utilized by defendants: alleged fraud, deception, and manipulation for ideas and information.
24
        18. After confirming Plaintiff is the person who assisted Elon Musk's Falcon 9 project after FAA
25
     had him grounded him, defendant Elon Musk was very impressed. However, he nor his engineers
26
     could not accept Plaintiff's submission at first, because defendant Elon Musk felt it would be a
27

28   I "Conflict of Interest."



                                                 - 15 COMPLAINT
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 i     19. But after Plaintiff assured Elon Musk and his engineers (liaison Mr. Conley)that he's not into

 2   building traditional Rockets, that he's already been engaged in interstellar propulsion, and, in fact,
 3
     even before Space X's Starship project(In support, Plaintiff's Courts' Records hereon of said
 4
     vehicle's timeline VS. Elon Musk's Starship's timeline will prove this, preponderance ofthe
 5
     evidence), Space X engineers and defendant Elon Musk could be heard throwing their original
 6

     calculations in the trash can. Here's a rough draft drawing of Plaintiff's "TapOff' intellectual

 s   property he submitted to FAA,Space X,and Blue
 9
     Origin, LLC.:
io
ii
is
13

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                                                - 16 COMPLAINT
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Zo                 c~b--~~ - t~                                                ~ ~.}-~~
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21

22
        20. Engineers stated to Plaintiff that they had told him that defendant Elon Musk wanted Plaintiff

23   to manage some parts of their program. So he suggested that Plaintiff sign up for a few managing

24   positions available on their website, and once Mr. Ruan called him, Mr. Ruan will have been
25
     instructed, up to and including: a "7-year Contract," 6 or 7 figures for Plaintiff that would also
26
     depend on his participation of sharing 30-year-old interstellar research with Space X. In fact, this can
27
     still be heazd on Plaintiff's recording message today.
28



                                                              - 17 COMPLAINT
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 1    21.2'Plaintiff explained he had no problem with that, but some of his material was tied up in an old

 2   McDonnell Douglas Aircraft Company deal, which their attorney was not only blocking but
 3
     disobeying a Court Judge~Order the WCAB its attached to~ r-'
 4
      22. Defendant, in part:"Mr. Manning,I'm just curious, why didn't you attend the tour here at
 5
     Space X with the other engineers with Mike?" Plaintiff, in part: "I apologize for that, but I was busy
 6

     that day. However, I did send a representative in my stead. In fact, I showed up at his house

 8   afterwards to follow up, discovering not only had he went and purchased amini-version of your
 9
     machine, but he also had some of my research on his desk trying to develop it into an idea of his
io
     It was all based on your larger version of a machine."
ii
      23. On the day after that, Plaintiff was invited by Mr. Conley and or another engineer to come
12

13   down to Space X. So, Plaintiff decided to take them up on their offer, yet this was about the same

14   time the Falcon 9, Blue Origin, LLC,and the FAA were all becoming successful from Plaintiff's
15
     submission (s).
16
      24. But when Plaintiff did attend Space X as requested to do so by defendant(s), Plaintiff was
1~
     stopped by several Space X security agents and humiliatedf cc .~ ~v ~~~,;/~-c~ ~ (~'~
is                  W-e ~~2 r            ,rJ~
19     25. The agents inappropriately looked Plaintiff up and down, stating something to the affect, in

20   part: "You expect us to believe Space X would allow someone who looks like you in here —ever?!"
ai   Continuing: "Sir, can you please show us some identification." Plaintiff complied. They then began
22
     taking pictures of Plaintiff along with their back and forth radio communications.
23               j S 5 ~ q I ~5 I~ W ice^        rte'                                     cam' ~`5~,
      26. This~vae-the same Fraud model defendant Elon Musk and or Space X had been conducting as
24

25
     mentioned hereon and throughout and or as so stated by Dr. Sol Adoni; but now on Plaintiff.

26    27. Defendant Space X finally verified that Mr. Conley (retired McDonnell Douglas Aircraft

27   employee hire out of retirement by Space X to assist their engineers with their Falcon 9 rocket) was
28



                                               - 18 COMPLAINT
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1    and or is within defendant's data base system as an employee. Not to mention, Plaintiff has a copy of

2    his Space X badge, evidence to be presented at Jury Trial.
3
      28. The security apologized to Plaintiff, stating that they don't know how he was allowed in, but
4
     that Plaintiff must request a tour through email. And this was despite Plaintiff being there on
5
     and not for a tour. Plaintiff complied and cordially exited the defendant's premises
6

      29. After experiencing strange telephone behavior at defendant Space X, number(310)970-5131,

s    Plaintiff then asked the orthopedic doctor's front desk's secretary, "If he could use their telephone?"
9
     She said,"no problem," and handed Plaintiff their telephone's [L]andline. The secretary then dialed
10
     the telephone number above for Plaintiff.
11
      30. And almost immediately, Mr. Ruan picked right up.
12

13    31. Mr. Andy Ruan was surprised to hear Plaintiff on the other end of the telephone line, he

14   sounded like he fell out his desk chair. Plaintiff could "glean" from Mr. Ruan's astonished reactions
15
     employment discrimination was on the horizon fueled by retaliation and Fraud. Mr. Ruan, in part:
16
     "Mr. Manning, I'm looking at your resume, and it doesn't seem it's something like yourself could
17
     possibly know. Such highly technical physics and engineering type of work in it. Normally, white
18

19   people know these types of things —not blacks." It was obvious Plaintiff was being manipulated, that

20   Mr. Ruan either communicated with Elon Musk, Mike, Juarez Conley, the Space X engineers, and

21
     the defendants exhibiting their Fraud model (s). After Plaintiff disclosed his interstellar propulsion
22
     "Process" to defendants, they became very evasive. See partial design in B.
23
                                        V.FIRST CAUSE OF ACTION
24
                                                 (Discrimination)
25

26      32. Plaintiff fully sets paragraphs 1 through 31 hereon and throughout.

27

28



                                                  - 19 COMPLAINT
Case 2:20-cv-02353-SVW-JPR Document 1 Filed 03/11/20 Page 20 of 29 Page ID #:20




 i      33. Defendant Space X discriminated against Plaintifffor employment specifically because of
                     —e S~U~p `nuvt V~ri~ W ~ ~J~'r~+ ~e~ cx~ inn~~-l sp~.cec~rro~~-
 2   Plaintiff'srace, evident the comment(s) made by Mr. Ruan a part of the EEOC charge, in part_
 3
     "Normally, white aeonle do these types of thins —not black people."
 4
        34. As Elon Musk has been known for exhausting the minds of bright individuals such as
 5
      manipulating him, and riding himself of Plaintiff as though he never even existed; especially knowi
 6

     he's competition with the mind and skill set to make planet earth amulti-human-race before him,

8    defendants' alleged racism (s).
 9
       35. Elon Musk doesn't own the Universe, as it [is] Free enterprise domain. Space X is in violation:
io
     employment discrimination, the fair practice law, 18 USC,the Sherman Act, Civil Acts 1866,
it
      1981 and or "economic inclusion" to say the least.
12

13     36. And considering Elon Musk was able to buy himself a $20,000,000.00 get out of Federal

14   Penitentiary free card sort of speak, the SEC,Plaintiff feels he will not get any fair treatment in this
15
      United States District Court either up to and including a fee waiver.
16
       38. Plaintiff could only imagine what the Federal government would have done to him had he
i~
     remotely been in the same SEC violations situation as defendant Elon Musk; especially having no
18

19    money as Mr. Musk.

20     39. Further, Plaintiff request this Court to Order the defendants to compile all of the engineers who
21
     Plaintiff was in contact with purveying his said "TapOff'intellectual property, and to also Order the
22
      defendants to bring forth the illegally obtained pictures taken of Plaintiff, and as to why,
23
      accompanied with a complete paper trail handling ofthem, thereof.
24

25
        40. While considering all of the above Acts; the Boring Company, Jason Blasdell, Juarez Conley

26   (Space X employee); Elon Musk's SEC violations(his alleged sole idea to colonize Mazs while firi

27    people, no union to back them up); Plaintiff's none compensated for said intellectual property
28



                                                 - 20 COMPLAINT
Case 2:20-cv-02353-SVW-JPR Document 1 Filed 03/11/20 Page 21 of 29 Page ID #:21




     submission (s); and, the fact that Space X engineers admitted to Plaintiff Space X had no interstellar

     propulsion project ahead of Plaintiffs, please take note: defendant Space X and Elon Musk cannot
                                                   DYIQ ~ ~`~r 5~~,0- N
     justify its relationship with Plaintiff as mino~prior the employment situation, if there's actual
                                                       . ~1 a,e.ti¢.~~ ~---~
                                                      .:
     transference ofinformation and communicate n~as mentioned hereon and throughout, which the

     defendants are intentionally misleading this Court from. This is: "actual Fraud." Thus, Plaintiff ask

     that this Court recommend /request that the United States Attorney General review every aspect of

     these allege Acts plead hereon and throughout, up to and including possible FAA involvement (s),

     all activities during their grounding ofthe Falcon 9.
io
11
                                                      Fraud
12
                                                   ~~ GIB ~
13      41.     Plaintiff fully sets pazagraphs 1 thru 3~.as
                                                        ~~-
                                                             fully set hereon.

14      42. Defendant Space X employees and Elon Musk recognized Plaintiff as a federally certified
15
     airman,fully capable of fulfilling the position promised. And Andy Ruan assured Plaintiff this
16
     position, his recorded message to Plaintiff.
i~
      43. However, after being disseminated information in regard to the allegedly robbery to Plaintiff by
18

19   defendants Plaintiffs owed $150,000,000.00, Andy Ruan allegedly conspired with the defendants.
                                                                                  has ,,.,-
20   As this is notjust your common case of employment discrimination, but ita~so a component of
21
     retaliation. Space X,et al. wanted to ensure Plaintiffls failure, mostly regarding his own interstellar
22
                                                                                           G~ -H,w~ del a ~ ~
     propulsion~prGjè~c~t endeavors the defendants were /are jealous of, hating. 1 ~~ w ~~ ~~,~; ...' ~
23
                                                                                                      -~
     4`If defendant Space X,et al., once recognized Plaintiff worthy enough to work with their
24

25
     engineers during their time spent grounded by the FAA,then why isn't Plaintiff w~ enough to do
                                           ~~        ^-~'                        ^~_     ~-
26   a more simpler job description, opposing what the Judge stated in Case number LACV 1909470 -

27
         s-
28



                                                - 21 COMPLAINT
Case 2:20-cv-02353-SVW-JPR Document 1 Filed 03/11/20 Page 22 of 29 Page ID #:22


                           G✓~ ~. OR.
     PSG-SK, same matter, if Fraud and or hate and or racism and or Public Corruption and or jealousy

      and or retaliation and or Fair Practice, etc., appearing to be the basis these Court decisions?
                                                                            ~         ~              ~
       Plaintiff was recognized as a leader and problem solver withinSt~ie aeps ace /space industry,
                                                                  s-~'   z`/
      demonstrated his intellectual property submission, yet not worthy now doesn't make any sense
          ~C~ ~- L
      besides Fraud. In support: Plaintiff thought up, received engineering approval, hand crafted, and then
         ' ~ P^
      installed another one of Plaintiffs intellectual properties,' the "Thrust Reverser" system for an MD-

      80 airplane, which, in fact, he's still owed $31,000,000.00 (less interest calculated, 92 thru 97 the

      Merger), WCAB case numbers: ADJ4513227, ADJ1517063, and ADJ413642; submitted his said
to
     "TapOff submission hereon the vertical rocket industry, accepted;(3)submitted his "Horizons
ii
      Breaker Switch" system towards correcting Boeing 767 Max 8 /9 bad design airplanes its MCAS
12

13    system, reviewed, etc., yet all ofthis and more. But Plaintiff is still treated with great disrespect,

14    unfairly, and unjust by said defendants, industry, et al. Defendants are in violation: Plaintiff's Civil
15
      Rights, 1965.
16
         Defendant's fraudulent telephone Act above —evidence, is no different from the manipulation A~
17                                                                             ~ dF'-~- (~.9;N -}O cc ccchv.Q(.irk.
     (s): Elon Musk is the only private space company that's being allowed to act. Not to mention he
18
                              ~U-~
19    engages how he sees f~v~kerec}s no African American is in competition to; or there are no black
                               ~   .

20    males as Plaintiff in high leading endeavor space and technology position, all throughout the United
21
      States. Plaintiff has the knowledge, experience, and an even higher levels of professionalism many
22
      aspects over the defendants. Less, however: over working of their employees as defendants; 80 hour
23
      work weeks defendants enforce on their workers; no ambulance allowed upon employee injury (s)
24

25
      under any circumstances "....call a Lyft if you're injured is the policy according to defendant Elon

26    Musk."

27

28



                                                  - 22 COMPLAINT
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     There are not only any African American space and technology companies in the United States, but

     Plaintiff's legitimate Corporation NOCH Technological Scientific Research Institute was also worthy
                                                                             ~hbu9~, .r
     enough to work with Space X during its said grounding period, but not worthy to be compensated for
                                                                               ~~.
     the work engaged in. This is further Fraud. In support: the Fact that Plaintiff's interstellar process /

     design, Photon 137 commonly known as the "Aurora Borealis Launch Vehicle" was placed on a

     National Security "Hold" pursuant to 35 USC 1818, said to be currently research by NASA and their

     devices such as MMS,LG1, AMS-02 and other devices, only then did defendant Space X's began to
                                ~i w 4`J       •~-
     throw the public's attention with a new "heavy metal" Starship (s)that's never intended for Mars.
io                              ~`                                                        ,`, - ~a.~ dra
     This is a diversion to acquire and replicate Plaintiffsprocess /concept /design, etc., like Plaintiffls
11
     previous intellectual property. The fact Plaintiff is seeking to build a vehicle that will safely get
12

13   citizens /his company to a "Goldie Lock Zone" planet (s), and or harness space and or placing

14   protective devices out in space to guard our beautiful planet from objects that could harm it in the
15
     future, it caused for the defendants alleged fraudulent model to go larger. Point taken: defendants
16
     have shown the appearance to have gone beyond retaliation and discrimination, all to destroy
1~
     Plaintiff's endeavors: As it appears that EEOC intentionally conspired with Space X, who, mind the
is
19   court, stated to Plaintiff, in part: "Mr. Manning, once we accept a chazge, protocol is to investigate

20   Space X and all involving parties." But not only wasn't this the case after the EEOC and Space X
21
     communicated, but the EEOC,appears to have also been influenced by Elon Musk similar the
22
     alleged Public Corruption lawsuits involving his Boring company,the many permits he somehow
23
     obtained for a Boring company said by the original Boring company that's not really his. Diane
24

25
     Franklin(EEOC Officer) retired after intentionally giving Plaintiff the wrong "Right to Sue" letter.

26   Believing the EEOC Plaintiff had the correct documents, Plaintiff then filed a case with this court.

27   The EEOC,in part:"Mr. Manning, you have everything you need to sue Space X in Federal Court."
28



                                                 - 23 COMPLAINT
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 i    However, after the District Judge stated otherwise: Plaintiff had to quickly dismiss his case without

 2    prejudice, and then go through a separate hassling issue investigating a now brand-new component tc
 3
      this discrimination case. And after confronting the EEOC about their alleged Fraud and or error, the
 4
      EEOC quickly tried covering their tracks. They scrambled to obtain Plaintiff's address from him
 5
     (misleading him as though they were asking Plaintifffor his address as a normal identifying
 6

      procedure, but were really trying to cover for their own alleged error; and, put Plaintiff through their

 8    dismissive Act for days /weeks afterwards), and then placing it within their computer system
 9
      verbatim so it wouldn't look like they made a wrong. It was very unprofessional behavior, and
io
     (EEOC),in part:"We never inputted you contact information in our system." And this was all despit
11
      them first stating differently weeks ago; and, the fact that they mailed out the state's "Right to Sue"
12

13    letter." It didn't make any sense except the appearance of Fraud and in bed with the defendants

14    relative any investigation. Finally, after a long and exhausting chain of events, and Plaintifffollowin;
15
      instructions on how to speak with their supervision, who, mind the Court, continued wasting valuably
16
      time ignoring Plaintiff, the EEOC finally admitted wrong doing, apologizing to Plaintifffor their
i~
      alleged error (s).
is
                     4'~''
19    See ~ C

20          The EEOC then extended Plaintiff's 90 day write to sue period; but, strangely started in only
ai   from 12-11-19, however. Common sense would suggest that a Federal Office would extend
22
     Plaintiffls 90-day period from the date in which they discovered their own mistake which taken up
23
     Plaintiffls prosecution time all the way up to 2020. Note to the Court: this strange "error" activity up
24

25
      to and including the EEOC lying about investigating the defendants, all began about the time Plai

26    left EEOC Officer Diane Franklin many email messages (diana.franklin@eeoc.gov) up to and

27

28



                                                 - 24 COMPLAINT
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 i   including Plaintiff relaying to the EEOC on how defendants were /are appearing to retaliate because

 2   they owe Plaintiff: $150,000,000.00 his intellectual contribution (s).
 3

 4    45. Retaliation: Considerations for Federal Agency Managers
 5   Retaliation is the most frequently alleged basis of discrimination in the federal sector
 6
     and the most common discrimination finding in federal sector cases. As EEOC works

 s   to address this issue Space X is in violation: Retaliation 42 U.S. Code § 12203; Civil

 9   Rights Act 1866 § 1981 and or "economic inclusion" Plaintiff's 1965 Civil Rights;
10
     Human Rights of 1948; The Sherman Act; Fair Practices; and 18 USC § 1341, Fraud.
ii
IZ                                      VI. REQUEST FOR RELIEF
13
     46. Wherefore, Plaintiff alleges employment discrimination, he requests $3,000,000.00 (three milli
14
     dollars in damages(USD))in damages and or whatever a Jury Trial deices is a proper amount (s).
15
     47. Wherefore, Plaintiff alleges Fraud, he requests $150,000,000.00(one hundred and fifty million)
16

1~   USD for the defendant's Fraud, their Fraud (s)this case, and the Fraud involving Plaintiffs
                                                                                          ~~
18   intellectual property owed to Plaintiff. Plaintiffwill allow a Jury Trial to see ~~►pnc~lNs~;~'a~be
             was ( ~
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     Plaintiff Ong worthy enough to work with defendant (s) Space X and or Mr. Elon Musk during the
20
     time FAA had them grounded (Falcon 9), yet seeking to lead this Court to believe he's not
21                                                               1 ~"
     experienced enough and or worthy airman, et al., etc., today~~s totally untrue. An alleged act also
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     involving retaliation.                                     ~~

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                                                - 25 COMPLAINT
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 1                                               Verification

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      Plaintiff submits under penalty of perjury, that the above hereon and throughout is the truth to the
 4
     best of his knowledge.
 5
     Dated: 03-11-20
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                                                       Plaintiff, Robert Lee Manning Jr., in Pro
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14                                                                             .L DEMANDED
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     DATED:03-11-20
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                                                                Plaintiff, in Pro per Robert Lee Manning Jr
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                                               - 26 COMPLAINT
Case 2:20-cv-02353-SVW-JPR Document 1 Filed 03/11/20 Page 27 of 29 Page ID #:27




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 Production Supervisor
  at SpaceX
  Hawthorne, CA, United States

 SpaceX was founded under the belief that a future where humanity is out exploring the stars is
 fundamentally more exciting than one where we are not. Today SpaceX is actively developing the
 technologies to make this possible, with the ultimate goal of enabling human life on Mars.

  PRODUCTION SUPERVISOR —PRECISION TUBE FABRICATION, OTW AND TIG WELDING

  The Precision Tube Fabrication team is looking for a supervisor to lead the team responsible for the
  orbital tube welding and TIG welding of precision tube assemblies. This role will involve the daily
  management of up to 30 technicians including work assignments, performance management, continuous
  improvement initiatives, and managing production schedules. The production supervisor must be an
  excellent problem solver and be able to navigate challenging circumstances on a daily basis.

  RESPONSIBILITIES:

     •   Coordinate and steer the collective efforts of orbital tube welders, TIG welders, and supporting
         staff in the precision tube fabrication department
     •   Enforce area standards and policies including bi-annual reviews and performance management
     •   Interface with area leadership and prioritize work based on production schedule and
         organizational goals
     •   Schedule risk identification and mitigation
     •   Coordinate support organization efforts to minimize production interruptions
     •   Ensure product quality and conformance to specifications
     •   Improve area safety and efficiency through regular auditing and continuous improvement
     •   Establish and analyze area metrics for trend extrapolation to drive the following:
              o Personnel training and development
              o Development and implementation of efficiency improvement projects
              o Optimization of product flow through the factory
              o Root cause analysis and the implementation of corresponding corrective action plans
              o Identification and elimination of defects within the area value stream
              o Reduction of downtime for product and personnel
              o Identification and elimination of defects within the area value stream
              o Reduction of downtime for product and personnel

  BASIC QUALIFICATIONS:

     •   Associate's degree
     •   5 years of experience in a supervisor or production leadership role

  PREFERRED SKILLS AND EXPERIENCE:

     •   Space X prior innovative skills
              Case 2:20-cv-02353-SVW-JPR Document 1 Filed 03/11/20 Page 28 of 29 Page ID #:28




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Case 2:20-cv-02353-SVW-JPR Document 1 Filed 03/11/20 Page 29 of 29 Page ID #:29
       "'"'`°►~,      U.S. EQUAL EMPLOYMENT OPPORTUNITY
                                                                COMMISSION
               `~                   Los Angeles District Office
              •                                                                    255 E. Temple Street, 4`" Floor
          ~                                                                              Los Angeles, CA 90012
                                                                       Intake Information Group: (800) 669-4000
                                                                  Intake Information Group 1TY: (800) 669-6820
                                                                         Los Angeles Direct Dial: (213) 894-1000
                                                                                            FAX (213) 894-1118
                                                                                        Website: www.eeoc.aov




 Robert L. Manning, Jr.
 14029 S. Hawthorne Blvd.
 Hawthorne, CA 90250

Re:        Chazge No.: 480-2019-04541
           Respondent: SPACE EXPLORATION TECHNOLOGIES COKP
                                                                              ., D.B.A. AS SPACE X
Dear Mr. Manning:

        On December 11, 2019, you visited our office indicating that you never
                                                                                   received the
Dismissal and Notice of Rights (also known as the Right To Sue letter)
                                                                          for the above reference
charge, which was issued on August 29, 2019. Our records have been
                                                                         reviewed and it has been
determined that EEOC made an administrative error in not ensuring a
                                                                        fall address was included
on the Right to Sue letter, which prevented the notice from being delive
                                                                          red to you by the US
Mail. As stated on the letter, you have 90 days upon receipt of the enclos
                                                                            ed Right To Sue to
pursue the matter court. Therefore, 90-day period to file a charge in federa
                                                                              l court would begin
on December 11, 2019, which the date you were first provided a copy of
                                                                           the Right To Sue letter.
       Should you have any questions regarding this notice, please contact Garre
                                                                                 tt Hoover,
Intake Supervisor, at (213) 894-1090.

                                              On Behalf of the Commission:


   ~ 7 0~0~                                                 .I/
Date                                         Rosa Viramontes, District Director
                                             Los Angeles District Office


Enclosure: Dismissal and Notice of Rights, EEOC Charge No. 480-2019-0
                                                                               4541


Cc:      Lindsay Chapman
         Human Resources Director
         SPACE EXPLORATION TECHNOLOGIES CORP., D.B.A. AS SPACE
                                                               X
         1 Rocket Road
         Hawthorne, CA 90250




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